                                               Case 19-10655-JKO                     Doc 2         Filed 01/16/19                Page 1 of 5



  Fill in this information to identi the case:
  Debtor name Consumer Advocacy Center Inc.
  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                       ❑ Check if this is an
                                                              FLORIDA
  Case number (if known):                                                                                                                                 amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
 Are Not Insiders                                                                           12/15


 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
 debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
 include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
 among the holders of the 20 largest unsecured claims.

  Name of creditor and              Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
  complete mailing address,         and email address of   (for example, trade               is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code                creditor contact       debts, bank loans,               unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                           professional services,               disputed        value of collateral or setoff to calculate unsecured claim.
                                                           and government                                       Total claim, if            Deduction for value         Unsecured claim
                                                           contracts)                                           partially secured          of collateral or setoff
 Abante Rooter &                                                                            Disputed                                                                           $2,500.00
  Plumbing, Inc.
 c/o Andrew
  Heidarpour, Esq.
  Heidarpour Law
  Firm, PLLC
 1300 Pennsylvannia
 Ave, NW 190-318
 Washington, DC
 20004
 Bureau of                                                                                 Disputed                                                                                     $0.00
 Consumer Financial
 Protection
 1700 G Street NW
 Washington, DC
 20552
 Chad Ploof                                                                                Disputed                                                                            $2,500.00
 c/o Andrew
 Heidarpour, Esq.
 HeidarpourLaw
 Firm, PLLC
 1300 Pennsylvannia
 Ave
 Washington, DC
 20004
 Chancellor Leonard                                                                        Disputed                                                                                  $0.00
 c/o Alex M.
 Washkowitz, Esq.
 CW Law Group, P.C.
 488 Oaks Road
 Framingham, MA
 01702
 Consumer Finanical                                                                        Disputed                                                                                 $0.00
 Protection Bureau
 1700 G Street NW
 Washington, DC
 20552



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  Debtor      Consumer Advocacy Center Inc.                                                                               Case number (if known)
              Name

  Name of creditor and               Name, telephone number Nature of claim                          Indicate if claim   Amount of claim
  complete mailing address,          and email address of   (for example, trade                       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code                 creditor contact       debts, bank loans,                       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                           professional services,        disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                                         Total claim, if           Deduction for value        Unsecured claim
                                                                                                                         partially secured         of collateral or setoff
  Federal                                                                                           Disputed                                                                                     $0.00
  Communications
  Commission
  445 12th Street, SW
  Washington, DC
  20554
  Federal Trade                                                                                     Disputed                                                                                     $0.00
  Commission
  Tara Isla Koslov,
  Chief of Staff
  600 Pennsylvannia
 Ave, NW
 Washington, DC
  20580
 Jay Brodsky                                                                                        Disputed                                                                                     $0.00
 240 East Shore
  Road
 Great Neck, NY
  11023
 Jeffrey Bloomfield,                                                                                Disputed                                                                            $6,000.00
 Attorney at Law
 301 North Main
 Street, Ste 2400
 Winston Salem, NC
 27101
 Jeremy Jackson                                                                                     Disputed                                                                        $145,000.00
 do Stephen P.
 DeNittis
 DeNittis Osefchen
 Prince, PC
 1515 Market Street,
 Ste 1200
 Philadelphia, PA
 19102
 Joseph Bond                                                                                                                                                                          $43,000.00
 do Todd M.
 Friedman
 The Law Office of
 Todd M. Friedman,
 P.C.
 21550 Oxnard St,
 Ste 780
 Woodland Hills, CA
 91367
 Quintin Brown                                                         Consumer                     Disputed                                                                                 $0.00
 5810 Riley Street,
 Unit 2
 San Diego, CA
 92110




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   Debtor     Consumer Advocacy Center Inc.                                                                           Case number (if known)
              Name

  Name of creditor and              Name, telephone number Nature of claim                       Indicate If claim   Amount of claim
  complete mailing address,         and email address of   (for example, trade                    is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code                creditor contact       debts, bank loans,                    unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                       professional services,        disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                                     Total claim, if           Deduction for value        Unsecured claim
                                                                                                                     partially secured         of collateral or setoff
  State of California                                                                           Disputed                                                                                    $0.00
  Attorney General
  Public Inquiry Unit
  Consumer
  Protection Division
  P.O. Box 944255
  Sacramento, CA
  94244-2550
  State of Colorado                                                                             Disputed                                                                                    $0.00
  Phil Weiser,
  Attorney General
  Ralph L. Carr
  Judicial Bldg
  1300 Braodway
  10th Floor
  Denver, CO 80203
  State of Connecticut                                                                          Disputed                                                                                    $0.00
  Jorge Perez,
  Commissioner
  260 Constitution
  Plaza
  Hartford, CT 06103
  State of Georgia                                                                              Disputed                                                                                    $0.00
  Chris Carr, Attorney
 General
 40 Capital Square,
 SW
 Atlanta, GA 30334
 State of Idaho                                                                                 Disputed                                                                                    $0.00
 Lawrence G.
 Wasden, Atty
 General
 700 W. Jefferson
 Street
 Boise, ID
 83720-0010
 State of Illinois                                                                              Disputed                                                                                 $0.00
 Office of the
 Attorney General
 Consumer
 Protection Division
 500 South Second
 St
 Springfield, IL 62701
 State of Minnesota                                                                             Disputed                                                                       $573,828.22
 Office of the
 Attorney General
 445 Minnesota St,
 Suite 1200
 Saint Paul, MN
 55101




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  Debtor     Consumer Advocacy Center Inc.                                                                         Case number (if known)
             Name

  Name of creditor and             Name, telephone number Nature of claim                     Indicate if claim   Amount of claim
  complete mailing address,        and email address of   (for example, trade                  is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code               creditor contact       debts, bank loans,                  unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                     professional services,       disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                                  Total claim, if           Deduction for value       Unsecured claim
                                                                                                                  partially secured         of collateral or setoff
  Stuart Abramson                                                                             Disputed                                                                           $4,500.00
  522 Glen Arden
  Drive
  Pittsburgh, PA
  15208




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  Fill In this Information to Identify the case:

  Debtor name           Consumer Advocacy Center Inc.

  United States Bankruptcy Court for the:        SOUT-IERN DISTRICT OF FLORIDA

  Case number of known)
                                                                                                                               ❑ Check if this is an
                                                                                                                                  amended filing



 Official Form 202
 Declaration Under Penalty of Perjury for Non-individual Debtors                                                                                         1215


 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the Individual's position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011,

 WARNING — Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to 5500,000 or imprisonment for up to 20 years, or both. 18    §§ 152, 1341,
 1519, and 3571.



                     Declaration and signature


        I am the preskient. another officer, or an authorized agent of the corporation; a memoer or an authorized agent of the partnership: cr another
        individual serving as a representative of the debtor in this case.

          have examined the information in the documents cheded below and I have a reasonable behelthat the information is true and correct:

                     Schedule NB: Assets—Real and Personal Properly (Official Form 206A/B)
        ❑ OOL1 000




                     Schedrs'e a Creditors Who Have Claims Secured by Property (Official Form 206D)
                     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EIF)
                     Schedule a Executory Contracts and Unexpired Leases (Official Form 2060)
                     Schedule H: Codeblors (Official Form 206H)
                     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                     Amended Schedule
                     Chaprer 11 or Chapter 9 Cases: List of Creditors Who eve the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)
         0           Other document that requires a declaration

       I declare under penalty of pefury that the foregoing is true a             rect.

        Executed on                1 /I 1                      X
                                                                   Signature of clividual signing on behalf of ebtor

                                                                   Albert Kim
                                                                   Printed name

                                                                   President
                                                                   Position or relationship to debtor




Official Form 202                                       Declaration Under Penalty of Perjury for Non-individual Debtors
So"wint Copric0 tr4 lif9G-2018 Maid Cass, LLC W■VW best—t
                                                       - cz,                                                                               Bea^ C as* tiap-a,m,::se
